 Case: 1:15-cr-00260 Document #: 288 Filed: 09/20/18 Page 1 of 1 PageID #:2461

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

UNITED STATES OF AMERICA
                                          Plaintiff,
v.                                                         Case No.: 1:15−cr−00260
                                                           Honorable Jorge L. Alonso
Roderick Groetzinger, et al.
                                          Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, September 20, 2018:


       MINUTE entry before the Honorable Jorge L. Alonso as to Roderick Groetzinger:
Motion hearing held. For the reasons stated on the record, Defendant's motions to correct
or reduce sentence under Rule 35 [281] and to file documents under seal [283] are denied.
Notices mailed by judge's staff (ntf, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
